Case 1:19-cr-00018-ABJ Document 289-1 Filed 02/13/20 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Plaintiff, Case 1:19-cr-00018-ABJ
Vv.
ROGER J. STONE, JR.

Defendant.

DECLARATION OF SETH GINSBERG IN SUPPORT OF
MOTION FOR ADMISSION PRO HAC VICE

I, Seth Ginsberg, hereby declare:

1. My name is Seth Ginsberg.

2. My office address and telephone number are as follows:
299 Broadway, Suite 1405
New York, New York 10007
212-227-6655
srginsberg@mac.com

3. Ihave been admitted to the following courts and bars:
New York State Courts (1994) (NY Bar No. 2628444)
U.S. District Court for the Southern District of New York
U.S. District Court for the Eastern District of New York
United States Court of Appeals for the Second Circuit

4. I certify that I have not been disciplined by any bar.

5. Ihave not been admitted pro hac vice in this Court in the past two years.

6. I do not have an office located within the District of Columbia.
Case 1:19-cr-00018-ABJ Document 289-1 Filed 02/13/20 Page 2 of 2

I declare under penalty of perjury that the foregoing is true and correct.

Lh Dibed
Seth Ginsberg /

Dated: New York, New York
February 12, 2020

